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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA
                                    WESTERN DIVISION


KYLE LAWRENCE STOKKE,

                 Plaintiff,                                      CASE NO. 1:19-cv-27

v.

MONTGOMERY COUNTY MEMORIAL                                      NOTICE OF REMOVAL
HOSPITAL, DAVID EARL ABERCROMBIE,
PHYLLIS DRAKE, KASEY MUELLER,
KIMBERLY ROBINSON, and KAYLA
DYSON,

                 Defendants.


        Defendants, Montgomery County Memorial Hospital, David Earl Abercrombie,

Phyllis Drake, Kasey Mueller, Kim Robinson,1 and Kala Duysen2 ("Defendants"), notify the

Court that they have removed the above-referenced action from the Iowa District Court in

and for Montgomery County, Law No. LACV021946, pursuant to 28 U.S.C. §§ 1331 and

1441. In support of their removal, Defendants state as follows:

        1.       This action is being removed to federal court based upon federal question

jurisdiction.

        2.       On or about September 13, 2019, Plaintiff Kyle Lawrence Stokke ("Stokke"

or "Plaintiff") served this lawsuit, filed in the Iowa District Court for Montgomery County as

Case No. LACV021946, upon Defendants. Therefore, Defendants have timely removed

this case.




1
  Defendant Kim Robinson’s first name is mistakenly listed as “Kimberly” in the Complaint. Kim is her
legal first name.
2
  Kala Duysen’s name is misspelled in the Complaint.


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       3.      The action is wholly civil in nature, the United States District Court for the

Southern District of Iowa, Western Division, has original jurisdiction under 28 U.S.C.

§ 1331 and the action may be removed by Defendant pursuant to 28 U.S.C. § 1441(a).

       4.      This Court has federal question jurisdiction over this action because

Plaintiff's Petition at Law and Jury Demand seeks relief under the Americans with

Disabilities Act, a federal statute, 42 U.S.C. § 12101 et seq (the “ADA”).

       5.      Removal is proper because Plaintiff’s Petition in the state court action

raises a federal question under the ADA and originally could have been brought in this

Court under the Court's original jurisdiction pursuant to 28 U.S.C. § 1331.          See 28

U.S.C. § 1441(a).

       9.      Defendants expressly reserve all defenses to Plaintiff's claims, including,

but not limited to, all defenses based in law, equity, statute, constitution, jurisdiction, or

immunity, any other defense or avoidance, and does not waive any defense by this

removal.

       10.     Attached as Exhibit "A" and incorporated by reference is a true and correct

copy of the state court pleadings served upon Defendants and removed by this notice. To

Defendants' knowledge, no other pleadings or papers have been served or filed with the

Iowa District Court in and for Montgomery County.

       11.     Attached as Exhibit "B" is a true and correct copy of the Notice of Filing of

Notice of Removal which has been served with this document on all parties to be filed with

the Iowa District Court in and for Montgomery County.

       12.     Attached as Exhibit "C" is Defendants' Notice Regarding State Court Matters

pursuant to L.R. 81.



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       13.     Defendants state, pursuant to LR 81.1(a)(2), that the matters pending in the

state court at this time only include Plaintiff’s Petition at Law and Jury Demand (Ex. A).

       14.     Defendants designate Council Bluffs, Iowa as the place for trial.

       WHEREFORE, Defendants remove this action from the Iowa District Court in and

for Montgomery County to the United States District Court for the Southern District of Iowa,

Western Division.

       Dated this 10th day of October, 2019.

                                        MONTGOMERY COUNTY MEMORIAL
                                        HOSPITAL, DAVID EARL ABERCROMBIE,
                                        PHYLLIS DRAKE, KASEY MUELLER, KIM
                                        ROBINSON, and KALA DUYSEN, Defendants,

                                         By: /s/ Allison D. Balus
                                             Allison D. Balus (IA# 28312)
                                             ICIS # AT0010832
                                        of   BAIRD HOLM LLP
                                             1700 Farnam St, Ste 1500
                                             Omaha, NE 68102-2068
                                             Phone: 402-344-0500
                                             Fax: 402-344-0588
                                             Email: abalus@bairdholm.com


                               CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of October, 2019, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent notification
of such filing to the following:

       Kyle E. Focht – kfochtlaw@gmail.com

And I hereby do certify that I have mailed by United States Postal Service the document
to the following non CM/ECF participants:

       N/A


                                                  /s/Allison D. Balus

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